Case 1:20-cr-00535-GBD Document 12 Filed 01/13/21 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
V.

LUIS ROJAS,
a/k/a “Len,”

Defendant.

 

 

 

Upon the application of the United States of America, Audrey Strauss, Acting United States
Attorney for the Southern District of New York, Assistant United States Attorney Jacob R.
Fiddelman, of counsel, and with the consent of the defendant, through counsel, for an order
limiting the dissemination of any and all discovery materials produced in connection with the
above-captioned case, which contains sensitive information, it is hereby ORDERED that:

1. Disclosure Material. The Government has made and will make disclosure to the
defendant of documents, objects and information, including electronically stored information,
pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the Government’s
general obligation to produce exculpatory and impeachment material in criminal cases (the
‘Disclosure Material”). The Disclosure Material will include material that (i) affects the privacy
and confidentiality of individuals; (ii) would impede, if prematurely disclosed, the Government’s
ongoing investigation of uncharged individuals; (ii1) would risk prejudicial pretrial publicity if
publicly disseminated; and/or (iv) that is not authorized to be disclosed to the public or disclosed
beyond that which is necessary for the defense of this criminal case.

2. Sensitive Disclosure Material. Certain parts of the Disclosure Material are
expected to contain information that identifies, or could lead to the identification of, victims or

witnesses who may be subject to intimidation or obstruction, and whose lives, persons, and

 
Case 1:20-cr-00535-GBD Document 12 Filed 01/13/21 Page 2 of 3

property, as well as the lives, persons and property of loved ones, will be subject to risk of harm
absent the protective considerations set forth herein; or information regarding certain undercover
law enforcement personnel engaged in ongoing operations (collectively, “Sensitive Disclosure
Material”). Any such material will be stamped or otherwise clearly marked “SENSITIVE” by the
Government. The Government’s designation of material as Sensitive Disclosure Material will be
controlling absent contrary order of the Court.

3. Disclosure Material shall not be disclosed by the defendant or defense counsel,
including any successor counsel (collectively, “the defense”) other than as set forth herein, and
shall be used by the defense solely for the purpose of defending this criminal action. The defense
shall not post any disclosure material on any internet site or network site to which persons other
than the parties hereto have access, and shall not disclose any Disclosure Material to the media or
any third party except as set forth below.

4. Sensitive Disclosure Material must be maintained solely in the possession of
defense counsel and personnel for whom defense counsel is directly responsible (1.e. employed by
or retained by counsel). Sensitive Disclosure Material may be reviewed by the defendant only in
the presence of counsel, and the defendant may not retain or possess Sensitive Disclosure Material.

5. Any party wishing to file Sensitive Disclosure Material with the Court for any
reason shall, after consultation with the opposing party, seek authorization from the Court to file
any such material under seal.

6. The defense may disseminate Disclosure Material that is not Sensitive Disclosure
Material only to the defendant, defense counsel, investigative, secretarial, clerical, and paralegal
personnel employed full-time or part-time by defense counsel, independent expert witnesses,
investigators, or advisors retained by defense counsel in connection with this action, and other

prospective witnesses and their counsel, to the extent deemed necessary by defense counsel, for

 
Case 1:20-cr-00535-GBD Document 12 Filed 01/13/21 Page 3 of 3

the purpose of defending this criminal action, and such other persons as hereafter may be
authorized by the Court upon motion by the defendant.

7. The defense must destroy or return any Disclosure Material at the conclusion of the
trial of this matter or when any appeal has terminated and the judgment has become final, subject
to defense counsel’s obligation to retain client files under the Rules of Professional Conduct.

8. The provisions of this Order shall not terminate at the conclusion of this criminal
prosecution, and the Court will retain jurisdiction to enforce this Order following termination of

the case.

Dated: New York, New York
January fZ, 2021

AUDREY STRAUSS COUNSEL FOR
Acting United States Attorney LUIS ROJAS
for the Southern District of New York

By: J S-=. By: An Abo

Jacob R. Fiddelman Samidh Guha, Esq.
Mollie Bracewell
Assistant United States Attorneys

SO ORDERED: JAN 13 2021!

Vaca, & Dendls

KGRO ype GEORGE B. DANIELS
ITEDSTATES DISTRICT JUDGE

 

 
